 

U. S. DlSTRICT C()URT
NORTHERN DlSTRlCT OF TEXAS

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FACTUAL RESUME

CLERK U. S. DlST
UNITED STATES oF AMERICA v JUAN ANTHoNY RE Es ,s_R R'CT COURT
5 05 CR-osz C- LUBBoCK DIvlsroN NoRTHERN Dls r oF TE)QRS>~

INDICTMENT: TO BE ARRAIGNED ON COUNT FOUR OF THIS
INDICTMENT - Charging violation of 21 U.S.C. §§
841(a)(l) & 84l(b)(l)(B)(viii) - Possession With lntent
to Distribute More Than 50 Grams of
Methamphetamine and Aiding and Abetting.

MAXIMUM PENALTY: A term of imprisonment for a period not less than 5
years nor more than 40 years, a fine not to exceed
$2,000,000, or both. A mandatory term of supervised
release of not less than 4 years, Which must follow any
term of imprisonment If Reyes violates the conditions
of supervised release, he could be imprisoned and
subject to additional terms of supervised release and
imprisonment as determined by the Court in
accordance With laW. Notwithstanding any other
provision of laW, the court shall not place on probation
or suspend the sentence of any person sentenced under
this subparagraph and no person sentenced under this
subparagraph shall be eligible for parole during the
term of imprisonment imposed therein

MANDATORY

ASSESSMENT: $lO0.00

PLEA AGREEl\/IENT: As set forth in the Plea Agreement attached hereto and
incorporated herein.

ELEMENTS OF THE

OFFENSE: The elements of the offense of Possession With lntent

to Distribute More Than 50 Grams of
Methamphetamine are as folloWs:

l. That Juan Anthony Reyes, Jr. knowingly and
intentionally possessed a controlled substance;

2. That the substance was, in fact, Methamphetamine;

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FACTS:

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3. That Reyes possessed the Methamphetamine with
the intent to distribute it (To “possess with intent to
distribute” simply means to possess with intent to
deliver or transfer possession of a controlled substance
to another person, with or without any financial
interest in the transaction);

4. That the quantity of the Methamphetamine was more
than 50 grams of a mixture and substance containing a
detectable amount of Methamphetamine (Reyes
understands and agrees that he will be held responsible
for a_l_l Methamphetamine that he is accountable and
foreseeably responsible for under the “Relevant
Conduct” provisions of the advisory Sentencing
Guidelines and that is a total of at least 150 grams but
less than 500 grams of actual (pure)
d-Methamphetamine); and,

5. That Juan Anthony Reyes, Jr. is, in fact, one of the
persons who committed this offense.

The defendant admits and agrees that the following
facts are true and correct:

During the time periods set forth in this indictment, the
defendant, Juan Anthony Reyes, Jr. and Marcelino
Andres Solis and other conspirators both known and
unknown, worked together to acquire various
quantities of Methamphetamine They obtained this
Methamphetamine with the intent to distribute it to
others.

During the time periods set forth in this indictment,
Sgt. Tony Menchaca was working in an undercover
capacity. On or about July 7, 2005, Sgt. Menchaca
met with Solis in Plainview, Texas and purchased

83 grams of Methamphetamine from him. Reyes
brought Solis and the Methamphetamine to the meeting
with Sgt. Menchaca. Although Reyes was not with
Solis at the time he handed the Methamphetamine to
Sgt. Menchaca, he knew that Solis was possessing and
distributing this Methamphetamine and knew that was

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the purpose of their (Solis and Reyes’) trip to
Plainview.

On or about September 12, 2005, Sgt. Menchaca made
plans to again purchase a quantity of
Methamphetamine from Solis. Reyes drove Solis to
Lubbock. He stopped by Solis’ Lubbock residence so
that Solis could pick up the Methamphetamine he was
to sell to Sgt. Menchaca. Reyes knew that the purpose
of this trip was to distribute Methamphetamine to Sgt.
Menchaca.

Reyes and Solis drove with the Methamphetamine to
the K-l\/lart parking lot located near 66th Street and
University Avenue in Lubbock. Reyes Was driving the
same silver Honda that he had driven in the above-
referenced July 7, 2005 Methamphetamine transaction
Sgt. Menchaca pulled up along side Reyes’ Honda
(driver’s door to driver’s door). Solis got out of the
Honda and proceeded to the passenger side of Sgt.
Menchaca’s vehicle and got in. Solis handed Sgt.
Menchaca a container containing three (3) separate
clear plastic bags of Methamphetamine The bust
signal was given and officers arrested Solis and Reyes
at the scene.

The suspected Methamphetamine purchased on July 7,
2005 and seized on September 12, 2005 was sent to the
DEA laboratory for analysis. The July 7, 2005 drugs
were determined to be 83. 6 grams of 94% pure d-
Methamphetamine. The September l2, 2005 drugs
were determined to be 221.6 grams of 34% pure d-
Methamphetamine

After his arrest on September 12, 2005 and after advice
and waiver of his Miranda rights, Reyes agreed to talk
with law enforcement agents. Reyes admitted to the
agents that he knew Solis was a trafficker of “ice”
(Methamphetamine) and had agreed to drive Solis to
Lubbock to distribute Methamphetamine Reyes was
to be paid $200.00 by Solis Reyes also admitted that
he had taken Solis to the area of the Chili’s restaurant

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uan Anthony Reyes r.

Witnessed by: \

in Plainview around July 7, 2005 and dropped him off
to meet with one of his (Solis’) drug customers.

Reyes admits, understands and agrees that he and Solis
obtained, possessed with intent to distribute and
distributed at least 150 grams but less than 500 grams
of actual (pure) d-Methamphetamine during the
relevant time periods set forth in this indictment He
agrees that this amount will be used to calculate his
“relevant conduct” under the advisory guidelines

Juan Anthony Reyes, Jr. admits, confesses and
acknowledges that on or about September 12, 2005 in
the Lubbock Division of the Northern District of Texas
and elsewhere, he, Marcelino Andres Solis and others
both known and unknown, did knowingly and
intentionally possess with intent to distribute more than
50 grams of a mixture and substance containing a
detectable amount of Methamphetamine, a Schedule ll
controlled substance Reyes further admits,
understands and agrees that he will be held responsible
for a total of at least 150 grams but less than 500 grams
of actual (pure) d-Methamphetamine. All other drug
amounts came to the government’s attention by way of
Reyes’s proffer and therefore cannot be used against
him. Reyes further admits and acknowledges that not
every fact known to the government and known to him
is set forth in this Factual Resume but only those facts
necessary to form an adequate factual basis for his plea
of guilty to Count 4 of this Indictment.

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Date

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Je f icholson Date
Att y for the defendant

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